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                              EXHIBIT L
Sent:       Thu, 15 Aug 2013 20:45:56 -0400
Subject:     Case
            Long     2:18-cv-03549-GRB-ST
                  Island                           Document 39-12 Filed 03/01/19 Page 2 of 2 PageID #: 589
                         School Elections (Javier Valdes)
From:       Daniel Altschuler <daniel.altschuler@maketheroadny.org>
To:         beaston@aqeny.org
Cc:         Javier Valdes <javier.valdes@maketheroadny.org>, Karina Claudio <Karina.Claudio@maketheroadny.org>


Hi Billy,


 Javier suggested I get in touch with you.

 As you may know, we’re working on Long Island, and have been active in some recent school board elections.

 In one such district, Brentwood, the school district’s clerk is proposing election changes. In short, because of safety
 concerns (some schools don’t have a separate entrance for the voting site) and cost considerations, she is proposing moving
 the poll sites from the elementary schools (of which there are 9) to the middle schools (of which there are 4).

 We’re concerned that the reduction in the number of poll sites could depress voter participation in a minority-majority area
 already plagued by low turnout.

 Question for you: Do you have any recommendations regarding how school districts have effectively dealt with the type of
 safety concern they have, while not reducing voter participation? The principal concern they expressed is that, without a
 separate entrance, adults could enter the school on an election day and that there’s a risk of a Sandy Hook-type situation.
 (That said, I’m convinced that they cost is at least an equal motivating factor here.)

 Do you know of any alternatives to changing / reducing poll sites in this type of case? If not, do you have any suggestions
 of someone who might know?

 Thanks for any information you have,

 Daniel

 --
Daniel Altschuler, Coordinator
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